
PER CURIAM.
Appellant, Abedelkader Dawudi, appeals the trial court’s order denying his motion for relief pursuant to Florida Rule of Criminal Procedure 3.850. One of the claims raised, claim four, is that his plea was involuntary because his attorney gave affirmative misadvice. We find that the record before us does not refute Dawudi’s claim that he was affirmatively misadvised as to this issue. Accordingly, we remand for the trial court to conduct an evidentia-ry hearing on this claim only. We affirm as to Dawudi’s remaining claims.

Affirmed In Part, Reversed In Part, And Remanded.

GUNTHER, FARMER and MAY, JJ„ concur.
